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ATTACHMENT 6
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From: Robert Bonsignore rbonsignore@class-actions.us
Subject: Re:
Date: March 1, 2012 at 9:39 PM
To: Mario N. Alioto malioteo@tatp.com
Ce: rbonsignore@classactions.us

This is the first I've been advised of the need for anything. No requests were ever sent to me. | think you are missing states such as New
Hampshire.

Robert J. Bonsignore
Trial Lawyer
Bonsignore and Brewer
193 Plummer Hill Road
Belmont, NH 03220
(781) 856 7650 (cell)
Sent from my iPhone

On Mar 1, 2012, at 9:03 PM, "Mario N, Alioto" <malioto @tatp.com> wrote:

Attached is the chart summarizing the responses to the questionnaire sent out to class reps in August 2008
which | referred to in our call today.

Mario N. Alioto, Esq.

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